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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 JOHN DOE,                                        §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §   Civil Action No. 4:22-cv-00297-O
                                                  §
 TEXAS CHRISTIAN UNIVERSITY &                     §
 VICTOR J. BOSCHINI, JR.,                         §
                                                  §
          Defendants.                             §

                                              ORDER

         Before the Court is Plaintiff’s Unopposed Motion to Proceed Under a Pseudonym (ECF

No. 4), filed April 12, 2022. Generally, plaintiffs must disclose their names in the instrument they

file to commence a lawsuit. Fed. R. Civ. P. 10(a). Sometimes, that requirement must yield “to a

policy of protecting privacy in a very private matter.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir.

Unit A 1981) (citation and internal quotation marks omitted). Courts consider whether (1) the

plaintiff seeking anonymity is challenging governmental activity; (2) the plaintiff must disclose

information “of the utmost intimacy” to prosecute the suit; and (3) the plaintiff will be compelled

to admit his intention to engage in illegal conduct. Id. For example, “[w]here the issues involved

are matters of a sensitive and highly personal nature, such as birth control, abortion, homosexuality

or the welfare rights of illegitimate children or abandoned families, the normal practice of

disclosing the parties' identities yields to a policy of protecting privacy in a very private matter.”

S. Methodist Univ. Ass’n of Women L. Students v. Wynne & Jaffe, 599 F.2d 707, 712–13 (5th Cir.

1979) (cleaned up).
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       The parties fear that “[i]f Plaintiff is not permitted to proceed anonymously, both Plaintiff’s

and Jane Roe’s identity would be revealed in subsequent media attention to this lawsuit.” Mot. 2,

ECF No. 4. But “[t]he threat of hostile public reaction to a lawsuit, standing alone, will only with

great rarity warrant public anonymity.” Stegall, 653 F.2d at 186. Plaintiff also argues that “[t]he

balancing of the interests under Stegall weighs in favor” of permitting Plaintiff to proceed

pseudonymously. Id. But Plaintiff provides no analysis explaining why that is so. And although

Plaintiff cites cases in which courts have allowed similar plaintiffs to proceed pseudonymously,

many other courts have denied those requests.1

       Accordingly, the Court ORDERS the parties to brief whether the Court should permit

Plaintiff to proceed pseudonymously. The parties may file jointly or separately, but in either case

must address the concerns raised in this Order. The brief (or briefs) are due April 27, 2022.

       SO ORDERED this 14th day of April, 2022.


                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




1
 See, e.g., Doe v. W. New England Univ., No. CV 3:19-30124, 2019 WL 10890195 (D. Mass. Dec. 16,
2019); Doe v. Mass. Inst. of Tech., No. 1:21-cv-12060 (D. Mass. Dec. 21, 2021); Doe v. Cornell Univ.,
No. 5:15-cv-0322 (N.D.N.Y. Mar. 25, 2015); Doe v. Colgate Univ., No. 5:15-cv-1069, 2015 WL 5177736
(N.D.N.Y. Sept. 4, 2015); Doe v. Rider Univ., No. CV 16-4882, 2018 WL 3756950 (D.N.J. Aug. 7,
2018). Doe v. Princeton Univ., No. 19-cv-7853, 2019 WL 5587327, (D.N.J. Oct. 30, 2019); Doe v.
Princeton Univ., No. 20-cv-4352, 2020 WL 3962268 (D.N.J. July 13, 2020); Doe v. Temple Univ., No.
14-cv-04729, 2014 WL 4375613 (E.D. Pa. Sept. 3, 2014); K.W. v. Holtzapple, 299 F.R.D. 438, 442 (M.D.
Pa. 2014); Doe v. Rollins Coll., No. 6:16-cv-2232, 2017 WL 11610361 (M.D. Fla. Mar. 22, 2017); Doe v.
Univ. of Louisville, No. 3:17-cv-00638, 2018 WL 3313019 (W.D. Ky. July 5, 2018); Student PID
AXXXXXXXX v. Mich. State Univ., No. 1:20-cv-984, 2020 WL 12689852 (W.D. Mich. Oct. 15, 2020);
Ayala v. Butler Univ., No. 1:16-cv-1266 (S.D. Ind. Jan. 8, 2018); Doe v. Valencia Coll., No. 6:15-cv-
1800, 2015 WL 13739325 (M.D. Fla. Nov. 2, 2015); Doe v. Samford Univ., No. 2:21-cv-00871, 2021 WL
3403517 (N.D. Ala. July 30, 2021).


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